                  IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


FARHAD AZIMA,                         )
                                      )
             Plaintiff,               )
                                      )
       v.                             )         1:20-cv-954
                                      )
NICHOLAS DEL ROSSO and VITAL          )
MANAGEMENT SERVICES, INC.,            )
                                      )
             Defendants.              )


                      MEMORANDUM OPINION AND ORDER

OSTEEN, JR., District Judge

       Before this court is Plaintiff’s Appeal of Special Master’s

Report and Decision No. 7. (Doc. 358.) For the reasons stated

herein, Plaintiff’s motion will be denied.

I.     PROCEDURAL HISTORY

       On December 29, 2023, this court ordered the appointment of

a Special Master pursuant to Federal Rule of Civil Procedure 53.

(Doc. 313.) The Special Master was appointed specifically to

“assist the parties to regulate discovery for the remainder of

this case.” (Id. at 1.)1 This court’s order stated that “[a]ny




       All citations in this Memorandum Opinion and Order to
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documents filed with the court refer to the page numbers located
at the bottom right-hand corner of the documents as they appear
on CM/ECF.




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appeals from the rulings of the Special Master will be taken in

accordance with the Joint Agreement of the Parties.” (Id. at 6.)

      The parties’ Joint Agreement provides that “[e]ither party

may, within seven calendar days of a decision of the special

master, appeal that decision” to this court. (Doc. 312-1 at 2.)

The Special Master filed her Special Discovery Master’s Report

and Decision #7 (“Report #7”) under seal on May 31, 2024. (Doc.

354.) She also filed a minimally redacted version of Report #7

on the same date. (Doc. 355.) Plaintiff filed his appeal of

Report #7 on June 5, 2024, (Doc. 358), and Defendants responded

on June 12, 2024, (Doc. 363). Non-parties Christopher Swecker

and Christopher Swecker, LLC (“Swecker”), (Doc. 364), and

Dechert, LLP (“Dechert”), (Doc. 365), also filed responses to

the appeal.

II.   STANDARD OF REVIEW

      “When reviewing a party’s timely objection to a special

master’s report and recommendation, the Court must decide de

novo any objections to the Special Master’s factual finding(s).”

Daedalus Blue, LLC v. Microstrategy Inc., No. 2:20-cv-551, 2023

WL 5337826, at *2 (E.D. Va. Aug. 18, 2023) (citing Fed. R. Civ.

P. 53(f)). “Similarly, the Court must decide de novo any

objections to conclusions of law recommended by the Special

Master.” Id. However, as set forth in the Order appointing the


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Special Master in this case, the court will set aside the

Special Master’s rulings on procedural matters only for abuse of

discretion. See Fed. R. Civ. P. 53(f)(5); (Doc. 313 at 7). “In

acting on a master’s order . . . the court . . . may adopt or

affirm, modify, wholly or partly reject or reverse, or resubmit

to the master with instructions.” Fed. R. Civ. P. 53(f)(1).

III. ANALYSIS

     Plaintiff appeals the Special Master’s resolution of four

discovery motions which were resolved by Report #7:

     1. the Motion to Compel Christopher Swecker and Christopher

     Swecker Enterprises to Produce Information Improperly

     Withheld for Privilege (“Swecker Privilege Motion”);

     2. the Motion to Compel Dechert LLP to Produce Information

     Improperly Withheld for Privilege (“Dechert Privilege

     Motion,” together with the Swecker Privilege Motion, the

     “Privilege Motions”);

     3. the Motion to Compel the Production of Documents

     Pursuant to the Crime-Fraud Exception (“Crime-Fraud

     Motion”); and

     4. the Motion to Compel Dechert LLP to Produce Documents

     Relating to Prior Allegations of Hacking (“Hacking

     Motion”).




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(Doc. 361 at 1–2.) Plaintiff urges the court to overrule the

Special Master’s denial of these motions because Report #7

     (1) fails to apply a critical prior ruling on
     privilege [(the ruling in Report #1 that Defendants
     cannot assert RAK’s privilege on its behalf)] that
     renders Ruling 7, at best, premature; (2) misapplies
     the law as to privilege waiver and the crime-fraud
     exception; and (3) denies the motion without full
     opportunity to be heard and a thorough examination of
     the facts.

(Doc. 358 at 6.)

     Plaintiff asks the court to “hold an evidentiary hearing

and/or conduct an in camera review of documents in order to

resolve these critical privilege issues,” and “order Dechert to

produce all withheld documents related to allegations of prior

hacking” against Defendants. (Id.)

     A.   Effect of Report #1 on RAK’s Privilege

     In Special Discovery Master’s Report and Decision #1

(“Report #1”), the Special Master determined that Defendants

could not assert RAK’s privilege on its behalf because, at most,

Defendants were third-party consultants working for Dechert in

Dechert’s capacity as attorneys for RAK.2 (See Doc. 316 at 17.)

As a result, the Special Master directed that RAK must appear in

this case to assert its attorney-client privilege over the

documents Defendants have withheld on the basis that the


     2 Separately, it appears that Dechert has appropriately
asserted attorney-client privilege on RAK’s behalf.
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documents are subject to RAK’s attorney-client privilege. (Id.)

RAK has not made this appearance. Defendants appealed this part

of Report #1, but, as the court explained in its Memorandum

Opinion and Order addressing Defendants’ appeal, the Special

Master’s determination that Defendants do not have standing to

assert RAK’s attorney-client privilege was correct. (See Doc.

431 at 7.)

     Plaintiff argues that Report #7 erroneously “fails to

address the Special Master’s prior ruling on privilege, which

conflicts with Ruling 7.” (Doc. 358 at 6.) It appears that

Plaintiff argues Dechert and Swecker “cannot assert privilege

over many of the documents at issue” in this case because Report

#1 held that “third parties cannot assert privilege over any

documents whose privilege is purportedly held by RAK.” (Id. at

7.) But Report #1 did not sweep so broadly. Instead, it held

only that Defendants, as a third-party consultant hired by

Dechert for its representation of RAK, could not assert RAK’s

attorney-client privilege. (See Doc. 316 at 17.) Both Dechert

and Swecker, as attorneys for RAK and Defendants, respectively,

are capable of asserting the attorney-client privilege on their

clients’ behalf. This portion of Plaintiff’s appeal is denied.




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     B.   Privilege Designations of NTi Reports

     Plaintiff next argues that Report #7 “misapplied privilege

law regarding NTi hacking reports that Defendants and their

agents turned over to the FBI.” (Doc. 358 at 7.) Plaintiff

alleges that Defendants “commissioned and paid for reports that

were written by NTi and contained and analyzed Azima’s stolen

data. NTi prepared dozens of those reports, and voluntarily

provided them to the FBI and federal prosecutors in order to

create legal jeopardy for Azima.” (Id. at 7–8.) Plaintiff argues

that any potential privilege was waived by providing the NTi

reports to third parties. (Id. at 8 (citing Fed. Election Comm’n

v. Christian Coal., 178 F.R.D. 61, 67 (E.D. Va. 1998).)

     In Report #7, the Special Master determined that production

of the NTi reports to the FBI did not waive any privilege over

those reports because, though they “appear to contain work

product information[,] . . . waiver of work product requires

that the disclosure must enable an adversary to get hold of the

information.” (Doc. 355 at 11 (citing Bowne of New York City,

Inc. v. AmBase Corp., 150 F.R.D. 465, 480 (S.D.N.Y. 1993).)

Plaintiff argues this conclusion was erroneous.

     As another court in this district has explained, “[b]ecause

the work-product doctrine serves instead to protect an

attorney’s work product from falling into the hands of an


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adversary, a disclosure to a third party does not necessarily

waive the protection of the work-product doctrine. Most courts

hold that to waive the protection of the work-product doctrine,

the disclosure must enable an adversary to gain access to the

information.” United States v. Duke Energy Corp., 214 F.R.D.

383, 387 (quoting Westinghouse Elec. Corp. v. Republic of

Philippines, 951 F.2d 1414, 1427–28 (3d Cir. 1991)). “The

purpose of the work product doctrine is to protect information

against opposing parties, rather than against all others outside

a confidential relationship[.]” Fed. Elec. Comm’n v. Christian

Coal., 178 F.R.D. 61, 76 (E.D. Va. 1998) (quoting United States

v. Am. Tel. and Tel. Co., 642 F.2d 1285, 1299 (D.C. Cir. 1980)).

     Plaintiff argues that the FBI was adverse to Dechert,

Swecker, and NTi because the FBI agent who received the reports

“knew that Dechert’s client had been accused of stealing the

data contained in the Reports and seemed to suggest that

Dechert’s client was the subject of the government’s

investigation.” (Doc. 358 at 9 (citing Pl.’s Ex. 8, Dep. of Paul

Zukas (“Zukas Dep.”) (Doc. 358-8)). But the Zukas Deposition

states only that Zukas “was aware that there was litigation

ongoing between the parties. . . . I wasn’t aware nor were we

really concerned, necessarily, with who was filing the lawsuit .

. . . We were concerned with our investigation in chief.” (Zukas


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Dep. (Doc. 358-8) at 3.) Zukas testified he became aware that

Azima was suing RAK for hacking him during the investigation.

(Id. at 3–4.) Zukas later stated that “Farhad Azima and RAK are

basically synonymous with each other,” (id. at 9), but this page

of the deposition and the other excerpts provided by Plaintiff

as Exhibit 8 to his appeal lack context and do not demonstrate

to the court that the FBI was adverse to Dechert, Swecker, or

NTi at the time the reports were disclosed.

     On appeal, Plaintiff relies on a Southern District of New

York case which held that “where the third party to whom the

disclosure is made is not allied in interest with the disclosing

party or does not have litigation objectives in common, the

protection of the [work product] doctrine will be waived.” (Doc.

358 at 9 (quoting Medinol, Ltd. v. Bos. Sci. Corp., 214 F.R.D.

113, 115 (S.D.N.Y. 2002) (holding that legally-required

disclosures by a company to an external auditor waived work

product protection).) Though Agent Zukas testified that he still

conducted his own investigation and did not rely solely on the

NTi reports for information, (see Zukas Dep. (Doc. 358-8) at 6),

this does not place Agent Zukas or the FBI in a position

adversarial to Dechert, Swecker, or NTi.

     The court cannot conclude from the evidence presented that

the FBI was adverse to Dechert, Swecker, or NTi such that their


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production of the NTi reports to the FBI waived work product

privilege over those reports. Thus, the Special Master’s

determination that “[t]here is nothing to suggest that the FBI

was adverse to Dechert or Swecker, or any of their clients or

agents” was appropriate, given the evidence. (See Report #7

(Doc. 355 at 11.) Plaintiff does not demonstrate that the FBI

and Dechert, Swecker, or NTi were not allied in interest or that

the FBI was adverse to Dechert, Swecker, or NTi in a position

analogous to a company and its external auditor. Accordingly,

this portion of Plaintiff’s appeal must be denied.

     C.   Crime-Fraud Motion

     Next, Plaintiff argues that the Special Master “fail[ed] to

apply correct legal standards” when evaluating the crime-fraud

exception’s potential application to certain documents. (Doc.

358 at 17.) This claim is based on the fact that certain

documents regarding how Dechert obtained Plaintiff’s data, and

Dechert’s statements about how they obtained the data, were

subject to the “iniquity exception” in the aforementioned UK

litigation. (Id.) The iniquity exception, “like the crime-fraud

exception, provides that privilege does not attach to

communications for an iniquitous purpose.” (Report #7 (Doc. 355)

at 6.)




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     Plaintiff argues that the Special Master’s reliance on

Window World of Baton Rouge, LLC v. Window World, Inc., Nos. 15-

cvs-1, 15-cvs-2, 2019 WL 3995941, at *18 (N.C. Super. Ct. Aug.

16, 2019) and its “preponderance of the evidence” standard for

evaluating the applicability of the crime-fraud exception was

misplaced. (Doc. 358 at 18–19.) Plaintiff instead urges that the

Special Master should have applied only a prima facie standard

as set forth in In re Grand Jury Proceedings #5 Empanelled

January 28, 2004, 401 F.3d 247, 251 (4th Cir. 2005). (Id.)

     As the Special Master has previously stated, North Carolina

law applies to discovery disputes in this case because Plaintiff

brings state law claims against Defendants. Window World’s

preponderance of the evidence standard was set forth by the

Superior Court of North Carolina and was later affirmed per

curiam by the North Carolina Supreme Court. See 377 N.C. 551,

857 S.E.2d 850 (N.C. 2021). Accordingly, Window World governs

the standard applicable to Plaintiff’s crime-fraud exception

motion.

     Acknowledging In re Grand Jury Proceedings #5, the Window

World court explained that “[f]ederal decisions hold that the

party invoking the crime-fraud exception must make a prima facie

showing that otherwise privileged communications fall within the

exception.” 2019 WL 3995941, at *17 (citing In re Grand Jury


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Proc. #5, 401 F.3d at 251)). The party seeking to invoke the

exception

     must show that “(1) the client was engaged in or
     planning a criminal or fraudulent scheme when he
     sought the advice of counsel to further the scheme,
     and (2) the documents containing the privileged
     materials bear a close relationship to the client’s
     existing or future scheme to commit a crime or fraud.”
     “Prong one of this test is satisfied by a prima facie
     showing of evidence that, if believed by a trier of
     fact, would established the elements of some
     violation that was ongoing or about to be committed.”
     “Prong two may be satisfied with a showing of a close
     relationship     between       the     attorney-client
     communications   and   the    possible   criminal   or
     fraudulent activity.”

Id. (quoting In re Grand Jury Proceedings #5, 401 F.3d at 251)

(internal citations omitted).

     The Window World court explained that courts “are divided

as to the appropriate quantum of proof necessary to make a prima

facie showing.” Id. (quoting In re Grand Jury, 705 F.3d 133,

151–53 (3d Cir. 2012)). The court then determined that, in North

Carolina, “a preponderance of the evidence standard is

appropriate in the civil context,” emphasizing that “under North

Carolina Rule of Evidence 104(a), preliminary questions of fact

concerning privileges must be established by a preponderance of

the evidence.” Id. at *18 (citing State v. McGrady, 368 N.C.

880, 892, 787 S.E.2d 1, 10 (2016)). Accordingly, the court

concluded



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     that a party seeking to invoke the crime-fraud
     exception to defeat the attorney-client privilege in
     a civil case3 must bear the burden of showing by a
     preponderance of the evidence that the opposing party
     was committing or intending to commit a crime or fraud
     and that the attorney-client communications were used
     in furtherance of the alleged crime or fraud.

Id. at *18.

     Based on the court’s review of the Special Master’s

resolution of Plaintiff’s crime-fraud motion, she first

determined that North Carolina law applies to the dispute, then

applied Window World’s preponderance of the evidence standard.

This was a correct application of North Carolina law, and this

portion of Plaintiff’s appeal must be denied.

     D.   Procedural Objections

     Finally, Plaintiff argues that Report #7 was produced

“without adequate opportunity to be heard or analysis to support

its decision.” (Doc. 358 at 12.) First, Plaintiff states

repeatedly that Report #7 “contains minimal and inadequate

analysis of the facts and law.” (Id. at 13.) Even a cursory

review of Report #7 confirms otherwise. Rather, it is more than

clear that the Special Master was thorough in her examination of




     3 As Dechert points out, the Window World court examined In
re Grand Jury Proceedings #5 and then “explicitly concluded that
the burden of proof should be higher for civil cases under North
Carolina law than the burden applied to federal grand jury
cases.” (Doc. 367 at 16-17.)
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the evidence before her and the applicable law when making the

determinations published in Report #7.

     Second, Plaintiff asserts Report #7 was produced without

providing him an opportunity to be heard or to present

supplemental briefing. (Id. at 12.) Plaintiff argues that the

court should overrule Report #7 in light of these “procedural

deficiencies and lack of analysis.” (Doc. 358 at 15.) However,

Plaintiff consented to the terms governing procedure before the

Special Master in this case. (See Doc. 312-1.) These terms

include that the parties are not entitled to hearings, but the

Special Master has discretion to conduct conferences if she

deems it necessary. (Id. at 2.) Plaintiff has not asserted that

he asked for an evidentiary hearing, the opportunity to submit

supplemental briefing, or to participate in oral argument. (Doc.

358 at 14.) Rather, Plaintiff argues the Special Master

erroneously “failed to conduct an evidentiary hearing, solicit

supplemental briefing, or request oral argument.” (Id.)

Plaintiff now asks this court for an evidentiary hearing, (id.

at 17), which it appears he did not ask the Special Master for,

but this court finds that Report #7 is sufficiently thorough and

demonstrates appropriate consideration of all the evidence

before the Special Master. Plaintiff does not demonstrate that




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any procedural deficiencies occurred, so this portion of

Plaintiff’s appeal is denied.

IV.   CONCLUSION

      For the foregoing reasons, IT IS THEREFORE ORDERED that

Plaintiff’s Appeal of Special Master’s Report and Decision No. 7,

(Doc. 358), is DENIED.

      This the 27th day of January, 2025.



                                __________________________________
                                   United States District Judge




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